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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION                                                      ENTERED
                                                                                                          05/30/2018
                                                    §
In re:                                              §        Chapter 11
                                                    §
MEMORIAL PRODUCTION                                 §        Case No. 17-30262
PARTNERS LP, et al.,                                §
                                                    §        (Jointly Administered)
                   Reorganized Debtors.1            §
                                                    §

                    FINAL DECREE CLOSING CERTAIN CHAPTER 11 CASES

                   Upon consideration of the motion (the “Motion”)2 of Amplify Energy Corp.

(“Amplify”) and its affiliates, certain of which are reorganized debtors (collectively with Amplify,

the “Reorganized Debtors,” and prior to reorganization, the “Debtors”) for entry of a final decree

(this “Final Decree”) closing all of the above-captioned chapter 11 cases except those of San

Pedro Bay Pipeline Company, Ch. 11 Case No. 17-30249, Rise Energy Beta, LLC, Ch. 11 Case

No. 17-30250, and Beta Operating Company, LLC, Ch. 11 Case No. 17-30253, the Court orders:

                   1.      The chapter 11 cases for each of the following Debtors is hereby closed

(collectively, as listed below, the “Closing Debtors”):


                               Name of Debtor                              Ch. 11 Case Number
           Memorial Production Partners LP                                        17-30262


1
  The Debtors in these chapter 11 cases, along with the last four digits of their respective federal tax
identification numbers, as applicable, were: Memorial Production Partners LP (6667); Memorial
Production Partners GP LLC; MEMP Services LLC (1887); Memorial Production Operating LLC;
Memorial Production Finance Corporation (3356); WHT Energy Partners LLC; WHT Carthage LLC;
Memorial Midstream LLC; Beta Operating Company, LLC; Columbus Energy, LLC; Rise Energy
Operating, LLC; Rise Energy Minerals, LLC; Rise Energy Beta, LLC; San Pedro Bay Pipeline Company
(1234); and Memorial Energy Services LLC. In accordance with the Plan and Confirmation Order, certain
of the Debtors were dissolved, merged, or changed their names. The Reorganized Debtors’ mailing address
is 500 Dallas Street, Suite 1600, Houston, Texas 77002.
2
    Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Motion.
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                          Name of Debtor                           Ch. 11 Case Number
        Memorial Production Finance Corporation                          17-30248

        Rise Energy Minerals, LLC                                        17-30251

        Rise Energy Operating, LLC                                       17-30252

        Columbus Energy, LLC                                             17-30254

        WHT Carthage LLC                                                 17-30255

        WHT Energy Partners LLC                                          17-30256

        Memorial Energy Services LLC                                     17-30257

        Memorial Midstream LLC                                           17-30258

        Memorial Production Operating LLC                                17-30259

        MEMP Services LLC                                                17-30260

        Memorial Production Partners GP LLC                              17-30261


               2.      Entry of this Final Decree is without prejudice to the rights of any party in

interest to seek to reopen any of the chapter 11 cases of the Closing Debtors pursuant to

section 350(b) of the Bankruptcy Code. For the avoidance of doubt, the chapter 11 cases of

Debtors Beta Operating Company, LLC, Rise Energy Beta, LLC, and San Pedro Bay Pipeline

Company are not being closed, and nothing in this Final Decree affects any claims or defenses in

Beta Operating Company, LLC v. Aera Energy LLC, et al., Adv. Proc. No. 17-03365 (Bankr. S.D.

Tex.), or any appeals or other proceedings relating thereto.

               3.      The Closing Debtors and their agents are authorized to take all actions

necessary or appropriate to effectuate the relief granted pursuant to this Final Decree.




                                                 2
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               4.     All expenses arising from the administration of the Debtors’ estates and

these chapter 11 cases, including, without limitation, the Section 1930 Fees, have been paid or

shall be paid in accordance with Section 2.1 of the Plan.

               5.     Notwithstanding anything to the contrary, the terms and conditions of this

Final Decree shall be immediately effective and enforceable upon its entry.

               6.     The Bankruptcy Court shall retain jurisdiction to hear and determine all matters

arising from or related to the implementation, interpretation, or enforcement of this Final Decree.


  Signed:
Dated: _____________,
          May 30, 2018 2018
       Houston, Texas
                                                    ____________________________________
                                             THE HONORABLE MARVIN MarvinISGUR
                                                                          Isgur
                                                        United
                                             UNITED STATES     States Bankruptcy
                                                            BANKRUPTCY           Judge
                                                                             JUDGE




                                                 3
